JS 44 (Rev. 10/20)        Case 1:22-cv-00110-DBPCIVIL
                                                 Document 1 Filed
                                                      COVER       08/29/22 PageID.1 Page 1 of 2
                                                               SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                               DEFENDANTS
       HOGAN & ASSOCIATES CONSTRUCTION, INC., a Utah                                                            URBAN COMMONS 6TH AVE SEATTLE, LLC, a Delaware
       corporation; William A. Smith, an individual; and Jenny R.                                               limited liability company; EAGLE NASHVILLE AIRPORT
       S ithof Residence
   (b) County     i di idof First
                              l Listed Plaintiff Davis County, UT                                               HOTEL      LLC ofDFirst
                                                                                                                County of Residence  l Listed liDefendant
                                                                                                                                                   it d li bilit          d CA
                                                                                                                                                           Los Angeles County,
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                           THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
      Eric P. Lee and Matthew M. Kaufmann
      Hoggan Lee Hutchinson
      1225 Deer Valley Drive, Suite 201
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                             (For Diversity Cases Only)                                     and One Box for Defendant)

□   1   U.S. Government
                                      □    3   Federal Question                                                                       PTF          DEF                                        PTF      DEF
                                       ✖

          Plaintiff                              (U.S. Government Not a Party)                         Citizen of This State            1
                                                                                                                                         □       □   1     Incorporated or Principal Place
                                                                                                                                                             of Business In This State             □
                                                                                                                                                                                                   4     4
                                                                                                                                                                                                             □

□2      U.S. Government
          Defendant                   □4       Diversity
                                                 (Indicate Citizenship of Parties in Item III)
                                                                                                       Citizen of Another State
                                                                                                                                         □2 □          2   Incorporated and Principal Place
                                                                                                                                                             of Business In Another State          □    5
                                                                                                                                                                                                             □5
                                                                                                       Citizen or Subject of a
                                                                                                         Foreign Country                 □3 □          3   Foreign Nation
                                                                                                                                                                                                   □    6
                                                                                                                                                                                                             □6
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                            Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                 TORTS                                FORFEITURE/PENALTY                         BANKRUPTCY                         OTHER STATUTES
    110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY                  625 Drug Related Seizure               422 Appeal 28 USC 158               375 False Claims Act
    120 Marine
    130 Miller Act
                                        310 Airplane
                                        315 Airplane Product          □ 365 Personal Injury -
                                                                            Product Liability
                                                                                                              of Property 21 USC 881
                                                                                                          690 Other
                                                                                                                                                 423 Withdrawal
                                                                                                                                                     28 USC 157
                                                                                                                                                                                     376 Qui Tam (31 USC
                                                                                                                                                                                         3729(a))
    140 Negotiable Instrument
    150 Recovery of Overpayment
                                             Liability
                                        320 Assault, Libel &
                                                                      □ 367 Health Care/
                                                                            Pharmaceutical                                                      PROPERTY RIGHTS
                                                                                                                                                                                     400 State Reapportionment
                                                                                                                                                                                     410 Antitrust
        & Enforcement of Judgment            Slander                        Personal Injury                                                      820 Copyrights                      430 Banks and Banking
    151 Medicare Act                    330 Federal Employers’              Product Liability                                                    830 Patent                          450 Commerce
    152 Recovery of Defaulted
         Student Loans
                                             Liability
                                        340 Marine                    □ 368 Asbestos Personal
                                                                            Injury Product
                                                                                                                                                 835 Patent - Abbreviated
                                                                                                                                                     New Drug Application
                                                                                                                                                                                     460 Deportation
                                                                                                                                                                                     470 Racketeer Influenced and
         (Excludes Veterans)            345 Marine Product                  Liability                                                            840 Trademark                           Corrupt Organizations

□   153 Recovery of Overpayment
        of Veteran’s Benefits
                                             Liability
                                        350 Motor Vehicle
                                                                       PERSONAL PROPERTY
                                                                        370 Other Fraud
                                                                                                                   LABOR
                                                                                                          710 Fair Labor Standards
                                                                                                                                                 880 Defend Trade Secrets
                                                                                                                                                     Act of 2016
                                                                                                                                                                                     480 Consumer Credit
                                                                                                                                                                                         (15 USC 1681 or 1692)
□   160 Stockholders’ Suits             355 Motor Vehicle             B 371 Truth in Lending                  Act                                                                    485 Telephone Consumer

□   190 Other Contract
    195 Contract Product Liability
                                            Product Liability
                                        360 Other Personal
                                                                      □ 380 Other Personal
                                                                            Property Damage
                                                                                                          720 Labor/Management
                                                                                                              Relations
                                                                                                                                                 SOCIAL SECURITY
                                                                                                                                                 861 HIA (1395ff)
                                                                                                                                                                                         Protection Act
                                                                                                                                                                                     490 Cable/Sat TV
B   196 Franchise                           Injury
                                        362 Personal Injury -         □ 385 Property Damage
                                                                            Product Liability
                                                                                                          740 Railway Labor Act
                                                                                                          751 Family and Medical
                                                                                                                                                 862 Black Lung (923)
                                                                                                                                                 863 DIWC/DIWW (405(g))
                                                                                                                                                                                 ✖   850 Securities/Commodities/
                                                                                                                                                                                         Exchange
                                            Medical Malpractice                                               Leave Act                          864 SSID Title XVI                  890 Other Statutory Actions
        REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS                 790 Other Labor Litigation             865 RSI (405(g))                    891 Agricultural Acts
    210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:                    791 Employee Retirement                                                    893 Environmental Matters
    220 Foreclosure                     441 Voting                      463 Alien Detainee                    Income Security Act               FEDERAL TAX SUITS                    895 Freedom of Information
    230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                                   870 Taxes (U.S. Plaintiff                Act
    240 Torts to Land                   443 Housing/                        Sentence                                                                 or Defendant)                   896 Arbitration
    245 Tort Product Liability              Accommodations              530 General                                                             871 IRS—Third Party                  899 Administrative Procedure
    290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty                     IMMIGRATION                            26 USC 7609                         Act/Review or Appeal of
                                            Employment                  Other:                            462 Naturalization Application                                                 Agency Decision
                                        446 Amer. w/Disabilities -      540 Mandamus & Other              465 Other Immigration                                                      950 Constitutionality of
                                            Other                       550 Civil Rights                      Actions                                                                    State Statutes
                                        448 Education                   555 Prison Condition
                                                                        560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
    1 Original                2 Removed from                    3    Remanded from                   4 Reinstated or             5 Transferred from   6 Multidistrict                          8 Multidistrict
□                         □                                □                                     □                       □                                 □                               □
✖
      Proceeding                State Court                          Appellate Court                   Reopened                    Another District       Litigation -                           Litigation -
                                                                                                                                   (specify)              Transfer                               Direct File
                                           Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           the Securities Act of 1933 and the Securities Exchange Act of 1934
VI. CAUSE OF ACTION                        Brief description of cause:
                                           Violation of: Section 10(b) of the Exchange Act and Rule 10b-5, Section 12(a)(2) of the Securities Act, Utah Code Section 61-1-1(2), Utah Code Sec
                                                                                                                                                                                           D
VII. REQUESTED IN    □ CHECK       IF THIS IS A CLASS ACTION                                              DEMAND $                                     CHECK YES only if demanded in complaint:
     COMPLAINT:         UNDER RULE 23, F.R.Cv.P.                                                                                                       JURY DEMAND:
                                                                                                                                                                                      □ Yes        □ No
                                                                                                                                                                                       ✖



VIII. RELATED CASE(S)                                                                                                                                                                     Case: 1:22−cv−00110
                      (See instructions):                                                                                                                                                 Assigned To : Pead, Dustin B.
      IF ANY                                JUDGE                                                                                                DOCKET NUMBER                            Assign. Date : 8/29/2022
DATE                                                                      SIGNATURE OF ATTORNEY OF RECORD                                                                                 Description: Hogan &
                                                                                                                                                                                          Associates
August 29, 2022                                                           Matthew M. Kaufmann                                                    Digitally signed by Matthew M. Kaufmann

                                                                                                                                                                                          Construction et al V Urban
                                                                                                                                                 Date: 2022.08.29 14:52:29 -06'00'


FOR OFFICE USE ONLY                                                                                                                                                                       Commons
    RECEIPT #                     AMOUNT                                      APPLYING IFP                                       JUDGE                                          MAG. JUDGE6th Ave Seattle et al
                       Case 1:22-cv-00110-DBP Document 1 Filed 08/29/22 PageID.2 Page 2 of 2
JS 44 Reverse (Rev. 10/20)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

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required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
